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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )       No. 1:18-cr-00177-SEB-TAB
                                                     )
BRIAN NORDBY,                                        ) -01
                                                     )
                              Defendant.             )

               ORDER ADOPTING REPORT AND RECOMMENDATION

       Having reviewed Magistrate Judge Mario Garcia’s Report and Recommendation that

Brian Nordby''s supervised release be revoked, pursuant to Title 18, U.S.C. §3401(i) and Rule

32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now

approves and adopts the Report and Recommendation as the entry of the Court, and orders a

sentence imposed of imprisonment of eighteen (18) months in the custody of the Attorney

General or his designee, with (12) months of supervised release to follow. In addition to the

mandatory conditions of supervision, the conditions of supervised release, as outlined in the

report and recommendation, will be imposed. The Court recommends placement at FCI Terre

Haute or another facility closest to Indianapolis, Indiana not including USP McCreary with an

anger management program.

       SO ORDERED.


       Date: ______________________
                  6/24/2022                         _______________________________
                                                     SARAH EVANS BARKER, JUDGE
                                                     United States District Court
                                                     Southern District of Indiana
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